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 14
 15                IN THE UNITED STATES DISTRICT COURT
 16              FOR THE CENTRAL DISTRICT OF CALIFORNIA
 17
 18   ELECTRIC SOLIDUS, INC. d/b/a           Case No. 2:24-cv-8280
      SWAN BITCOIN,
      a Delaware corporation,
 19                                          AMENDED COMPLAINT AND
                     Plaintiff,              DEMAND FOR JURY TRIAL
 20
                       v.
 21                                          UNREDACTED VERSION OF
      PROTON MANAGEMENT LTD., a
 22   British Virgin Islands corporation;    DOCUMENT PROPOSED TO BE
      THOMAS PATRICK FURLONG;                FILED UNDER SEAL
 23   ILIOS CORP., a California corporation;
      MICHAEL ALEXANDER HOLMES;
      RAFAEL DIAS MONTELEONE;
 24   SANTHIRAN NAIDOO; ENRIQUE
      ROMUALDEZ; and LUCAS
 25   VASCONCELOS,
 26                 Defendants.
 27
 28

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  1         Plaintiff Electric Solidus, Inc. d/b/a Swan Bitcoin (“Swan”) complains and
  2 alleges the following against Defendants Proton Management Ltd. (“Proton”),
  3 Thomas Patrick Furlong, Ilios Corp., Michael Alexander (“Alex”) Holmes, Rafael
  4 Dias Monteleone, Santhiran Naidoo, Enrique Romualdez, and Lucas Vasconcelos
  5 (the “Individual Defendants,” and, collectively with Proton, “Defendants”).
  6                             NATURE OF THE ACTION
  7         1.    This action stems from a coordinated effort by Defendants—former
  8 consultants of Swan—to steal Swan’s entire billion-dollar Bitcoin mining business.
  9 Over the course of six weeks, Defendants devised and executed a brazen plan—
 10 described in their contemporaneous call notes as “rain and hellfire” by which
 11 Defendants “would be exposed” on “Confidentiality and IP.” In connection with their
 12 plan, Defendants downloaded over 1,300 documents, including those containing
 13 confidential Swan information and source code files that outlined every step of
 14 Swan’s proprietary Bitcoin mining strategies. Defendants also recruited senior Swan
 15 employees to join them in resigning en masse. Thirteen Swan consultants and
 16 employees resigned over the course of two days, many within minutes of one another.
 17 They all went to the new company Defendant Holmes had incorporated six days
 18 before they resigned—Defendant Proton. Swan seeks injunctive relief against all of
 19 the Defendants, and damages against Proton, to put an end to Defendants’ misconduct
 20 and to compensate Swan for this egregious theft.
 21         2.    Founded in 2019, Swan is widely recognized as a leader in Bitcoin
 22 services and operations. In 2023, Swan sought to expand its operations to Bitcoin
 23 mining. “Bitcoin mining” refers to the process of generating Bitcoin, the first and
 24 most widely-known digital, decentralized currency. If done efficiently at scale,
 25 Bitcoin mining can be extremely profitable. At the time of this filing, a single Bitcoin
 26 is worth approximately $100,000. But as attractive as the rewards from Bitcoin
 27 mining can be, mining operations are notoriously difficult to scale profitably.
 28 Achieving profitably is a challenge, and minor gains in price, power efficiency, and a

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  1 These notes, taken by Zagury, and (perhaps inadvertently) saved to Swan’s email
  2 system, detail his conversation with Defendants Holmes and Naidoo. These notes
  3 document the conspirators’ decision that the “rain and hell fire need to start” because
  4 it was becoming “dangerous to [the] team to stay around” and “Bill [Belitsky, then
  5 Swan’s General Counsel and a co-conspirator, now at Proton] is being put at risk.”
  6 The notes also detail that the “[t]eam resignation and move with Tether needs to be
  7 on [sic] tandem” and that the Defendants will need to “bring the heat” because with
  8 the breaches of confidentiality and theft of “IP- we would be exposed. Legal cover
  9 from Tether.”
 10        8.     All of this is laid bare in Zagury’s August 6, 2024 notes, excerpted on
 11 the following page.
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  1        9.      The notes confirm that Defendant Alex Holmes was a ringleader.
  2 Holmes incorporated Defendant Proton just six days before the resignations, and, per
  3 the plan, he resigned first. Recognizing that their plan would violate the conspirators’
  4 “non-solicit; non-compete” obligations to Swan, they plotted to stage their
  5 resignations to give the false impression that Proton was an organic, “new
  6 opportunity,” rather than a copycat company built on Swan’s “Confidentiality and IP”
  7 and formed solely to usurp Swan’s mining business.
  8        10.     Zagury’s notes confirm that the Individual Defendants were well aware
  9 that their theft of Swan’s mining business and trade secrets would “expose” them to
 10 further liability and breach their “Confidentiality and IP” obligations to Swan. The
 11 solution was to secure “Legal cover from Tether,” whereby the cryptocurrency giant
 12 would threaten Swan with legal action to deter the company from seeking to enforce
 13 its rights against the Defendants.2
 14        11.     Defendants’ scheme that Zagury laid out in writing came to pass as
 15 planned: Defendant Michael “Alex” Holmes, Defendant Naidoo, and Zagury
 16 coordinated their resignations from Swan on August 8, 2024. Shortly thereafter,
 17 Holmes sent a message to Defendant Furlong, Defendant Monteleone, Defendant
 18 Romualdez, Defendant Vasconcelos, and other Swan conspirators signaling them that
 19 it was time to resign and join him, Defendant Naidoo, and Zagury at Defendant
 20 Proton.      Holmes made clear he wanted “to continue the incredible work [the
 21 conspirators] ha[d] accomplished” at Swan, writing, “I don’t expect us to skip a beat,”
 22 and inviting them to resign from Swan. Over the next few hours, they did. That email
 23 and the resignations that followed were a preplanned fig leaf, intended to leave behind
 24 a supposedly innocuous paper trail. But Defendants’ machinations to create this
 25
    2
      Following the plan, Tether has initiated sham litigation against Swan in the United
 26 Kingdom, initially attempting to schedule a hearing on January 23 where Tether
    would seek to have this entire litigation stayed—days before the scheduled filing of
 27 this Amended Complaint, in an obvious attempt to intimidate Swan. The High Court
    of Justice in the Business and Property Courts of England and Wales rejected Tether’s
 28 request for immediate relief and has set a hearing for the second half of February.

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   1         16.   Swan comes to this Court to hold Defendants to account for their willful
   2 and unlawful misconduct, including trade secret misappropriation, breach of
   3 contractual obligations to Swan, conversion, and unfair competition; to immediately
   4 stop Defendants from continuing to irreparably harm Swan by possessing and using
   5 Swan’s stolen proprietary, confidential, and trade secret information; and to recover
   6 the enormous economic damages it has lost and the attorneys’ fees it has incurred
   7 because of Defendants’ willful and unlawful theft of Swan’s Bitcoin mining business.
   8                                        PARTIES
   9         17.   Plaintiff Swan is an industry-leading Bitcoin financial services company
  10 that helps individuals and businesses purchase, save, and invest in Bitcoin through its
  11 platform. Prior to Defendants’ scheme, Swan was also a leader in the field of Bitcoin
  12 mining. Swan is a Delaware corporation with its headquarters located at 26565 W.
  13 Agoura Road, Suite 200, Calabasas, California 91302, which is in Los Angeles
  14 County in the Central District of California.
  15         18.   Defendant Proton is a British Virgin Islands Business Company with its
  16 headquarters at Trinity Chambers, PO Box 4301, Road Town, Tortola, British Virgin
  17 Islands. Its registered agent is Brittney Fahie, SHRM Trustees (BVI) Limited, Trinity
  18 Chambers, PO Box 4301, Road Town, Tortola, British Virgin Islands.                  On
  19 information and belief, Defendant Holmes founded Proton on August 2, 2024, while
  20 residing in California. While Proton was incorporated in the British Virgin Islands,
  21 on information and belief, none of its employees or consultants resides or works in
  22 that jurisdiction. On information and belief, agents of Proton, including the Individual
  23 Defendants and former Swan employees, have conducted business on Defendant
  24 Proton’s behalf under the name “Elektron Energy.”3
  25
  26   It is unclear, based on information presently available to Swan, whether “Elektron
       3
     Energy” refers to a separate corporate entity created and managed by the Individual
  27 Defendants and former Swan employees or whether Defendant Proton simply does
     business as “Elektron Energy.” As described below, the Individual Defendants and
  28 former Swan employees have sometimes held themselves out to Swan’s business
     partners as agents of an “Elektron Energy,” and utilized “elektron-energy.com” email
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   1         19.   Defendant Furlong is a former Investment Director of Swan.            On
   2 information and belief, Defendant Furlong resides in Western Australia. Pursuant to
   3 his consulting agreement with Swan, Furlong agreed that, in any lawsuit brought
   4 against him related to the services he provided Swan, he would consent to the personal
   5 jurisdiction and venue in this District.
   6         20.   Defendant Holmes is the former Head of Business Development for
   7 Swan Mining. On information and belief, Defendant Holmes resides in Los Angeles,
   8 California, which is located in Los Angeles County in the Central District of
   9 California.
  10         21.   Defendant Ilios is a California corporation with its headquarters located
  11 at 664 South Mansfield Avenue, Los Angeles, California 90036, which is located in
  12 Los Angeles County in the Central District of California.          Defendant Holmes
  13 contracted through Ilios to provide services to Swan. Pursuant to that consulting
  14 agreement, Holmes (on behalf of Ilios) agreed that, in any lawsuit brought related to
  15 the services he provided Swan, he would consent to the personal jurisdiction and
  16 venue in this District.
  17         22.   Defendant Monteleone is a former Investment Analyst of Swan. On
  18 information and belief, Defendant Monteleone resides in São Paolo, Brazil. Pursuant
  19 to his consulting agreement with Swan, Monteleone agreed that, in any lawsuit
  20 brought against him related to the services he provided Swan, he would consent to the
  21 personal jurisdiction and venue in this District.
  22         23.   Defendant Naidoo is a former Investment Director of Swan.             On
  23 information and belief, Defendant Naidoo resides in London, United Kingdom.
  24 Pursuant to his consulting agreement with Swan, Naidoo agreed that, in any lawsuit
  25 brought against him related to the services he provided Swan, he would consent to the
  26 personal jurisdiction and venue in this District.
  27
     addresses. Swan expressly reserves the right to add Elektron Energy as a party to this
  28 action, as appropriate following discovery.

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   1         24.   Defendant Romualdez is a former Junior Investment Analyst of Swan.
   2 On information and belief, Defendant Romualdez resides in Toronto, Ontario,
   3 Canada. Pursuant to his consulting agreement with Swan, Romualdez agreed that, in
   4 any lawsuit brought against him related to the services he provided Swan, he would
   5 consent to the personal jurisdiction and venue in this District.
   6         25.   Defendant Vasconcelos is a former Software Engineer of Swan. On
   7 information and belief, Defendant Vasconcelos resides in Ceilândia, Brazil. Pursuant
   8 to his consulting agreement with Swan, Vasconcelos agreed that, in any lawsuit
   9 brought against him related to the services he provided Swan, he would consent to the
  10 personal jurisdiction and venue in this District.
  11                             JURISDICTION AND VENUE
  12         26.   This Court has original jurisdiction over this action pursuant to the
  13 Defend Trade Secrets Act (“DTSA”), 18 U.S.C. § 1836, et seq., and 28 U.S.C. § 1331.
  14 This Court has supplemental jurisdiction over the other claims pleaded herein
  15 pursuant to 28 U.S.C. § 1367.
  16         27.   This Court has personal jurisdiction over Defendant Furlong pursuant to
  17 the forum-selection clause in his consulting agreement with Swan, dated May 21,
  18 2024, through which Furlong irrevocably and “expressly consent[ed] to the personal
  19 and exclusive jurisdiction and venue of the state and federal courts located in Santa
  20 Monica, California.” That agreement provides that, while “all controversies, claims
  21 or disputes . . . arising out of, relating to, or resulting from Consultant’s consulting
  22 or other relationship with [Swan] or the termination of Consultant’s consulting or
  23 other relationship with [Swan], including any breach of this agreement, shall be
  24 subject to binding arbitration pursuant to California law,” “any party may also petition
  25 the court for injunctive relief where either party alleges or claims a violation of any
  26 agreement      regarding     intellectual   property,   confidential   information   or
  27 noninterference.” In this case, Swan only seeks preliminary injunctive relief against
  28 Furlong, and alleges and claims Furlong violated his agreements regarding Swan’s

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   1 intellectual property, confidential information, and noninterference. On information
   2 and belief, at all times when Furlong agreed to commit and did commit the
   3 wrongdoing described below, he knew that Swan was located in California.
   4         28.   This Court has personal jurisdiction over Defendants Ilios and Holmes
   5 because, on information and belief, Holmes resides in California. Ilios is a California
   6 company, headquartered and with its principle place of business in that state. On
   7 information and belief, at all times when Holmes agreed to commit and did commit
   8 the wrongdoing described below, he was located in California, and knew that Swan
   9 was located in California. Moreover, pursuant to the forum-selection clause in Ilios’s
  10 consulting agreement with Swan, dated December 6, 2023, Holmes, on behalf of Ilios,
  11 irrevocably and “expressly consent[ed] to the personal and exclusive jurisdiction and
  12 venue of the state and federal courts located in Santa Monica, California.” That
  13 agreement provides that, while “all controversies, claims or disputes . . . arising out
  14 of, relating to, or resulting from Consultant’s consulting or other relationship with
  15 [Swan] or the termination of Consultant’s consulting or other relationship with
  16 [Swan], including any breach of this agreement, shall be subject to binding arbitration
  17 pursuant to California law,” “any party may also petition the court for injunctive relief
  18 where either party alleges or claims a violation of any agreement regarding
  19 intellectual property, confidential information or noninterference.” In this case, Swan
  20 only seeks preliminary injunctive relief against Ilios and Holmes, and alleges and
  21 claims Ilios and Holmes violated their agreement regarding Swan’s intellectual
  22 property, confidential information, and noninterference.
  23         29.   This Court has personal jurisdiction over Defendant Monteleone
  24 pursuant to the forum-selection clause in his consulting agreement with Swan, dated
  25 May 10, 2024, through which Monteleone irrevocably and “expressly consent[ed] to
  26 the personal and exclusive jurisdiction and venue of the state and federal courts
  27 located in Santa Monica, California.” That agreement provides that, while “all
  28 controversies, claims or disputes . . . arising out of, relating to, or resulting from

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   1 Consultant’s consulting or other relationship with [Swan] or the termination of
   2 Consultant’s consulting or other relationship with [Swan], including any breach of
   3 this agreement, shall be subject to binding arbitration pursuant to California law,”
   4 “any party may also petition the court for injunctive relief where either party alleges
   5 or claims a violation of any agreement regarding intellectual property, confidential
   6 information or noninterference.” In this case, Swan only seeks preliminary injunctive
   7 relief against Monteleone, and alleges and claims Monteleone violated his agreements
   8 regarding Swan’s intellectual property, confidential information, and noninterference.
   9 On information and belief, at all times when Monteleone agreed to commit and did
  10 commit the wrongdoing described below, he knew that Swan was located in
  11 California.
  12         30.   This Court has personal jurisdiction over Defendant Naidoo pursuant to
  13 the forum-selection clause in his consulting agreement with Swan, dated July 26,
  14 2023, through which Naidoo irrevocably and “expressly consent[ed] to the personal
  15 and exclusive jurisdiction and venue of the state and federal courts located in Santa
  16 Monica, California.” That agreement provides that, while “all controversies, claims
  17 or disputes . . . arising out of, relating to, or resulting from Consultant’s consulting
  18 or other relationship with [Swan] or the termination of Consultant’s consulting or
  19 other relationship with [Swan], including any breach of this agreement, shall be
  20 subject to binding arbitration pursuant to California law,” “any party may also petition
  21 the court for injunctive relief where either party alleges or claims a violation of any
  22 agreement      regarding     intellectual   property,   confidential   information   or
  23 noninterference.” In this case, Swan only seeks preliminary injunctive relief against
  24 Naidoo, and alleges and claims Naidoo violated his agreements regarding Swan’s
  25 intellectual property, confidential information, and noninterference. On information
  26 and belief, at all times when Naidoo agreed to commit and did commit the wrongdoing
  27 described below, he knew that Swan was located in California.
  28         31.   This Court has personal jurisdiction over Defendant Romualdez pursuant

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   1 to the forum-selection clause in his consulting agreement with Swan, dated December
   2 14, 2023, through which Romualdez irrevocably and “expressly consent[ed] to the
   3 personal and exclusive jurisdiction and venue of the state and federal courts located
   4 in Santa Monica, California.” That agreement provides that, while “all controversies,
   5 claims or disputes . . . arising out of, relating to, or resulting from Consultant’s
   6 consulting or other relationship with [Swan] or the termination of Consultant’s
   7 consulting or other relationship with [Swan], including any breach of this agreement,
   8 shall be subject to binding arbitration pursuant to California law,” “any party may
   9 also petition the court for injunctive relief where either party alleges or claims a
  10 violation of any agreement regarding intellectual property, confidential information
  11 or noninterference.” In this case, Swan only seeks preliminary injunctive relief
  12 against Romualdez, and alleges and claims Romualdez violated his agreements
  13 regarding Swan’s intellectual property, confidential information, and noninterference.
  14 On information and belief, at all times when Romualdez agreed to commit and did
  15 commit the wrongdoing described below, he knew that Swan was located in
  16 California.
  17         32.    This Court has personal jurisdiction over Defendant Vasconcelos
  18 pursuant to the forum-selection clause in his consulting agreement with Swan, dated
  19 September 29, 2023, through which Vasconcelos irrevocably and “expressly
  20 consent[ed] to the personal and exclusive jurisdiction and venue of the state and
  21 federal courts located in Santa Monica, California.” That agreement provides that,
  22 while “all controversies, claims or disputes . . . arising out of, relating to, or resulting
  23 from Consultant’s consulting or other relationship with [Swan] or the termination of
  24 Consultant’s consulting or other relationship with [Swan], including any breach of
  25 this agreement, shall be subject to binding arbitration pursuant to California law,”
  26 “any party may also petition the court for injunctive relief where either party alleges
  27 or claims a violation of any agreement regarding intellectual property, confidential
  28 information or noninterference.” In this case, Swan only seeks preliminary injunctive

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   1 relief against Vasconcelos, and alleges and claims Vasconcelos violated his
   2 agreements regarding Swan’s intellectual property, confidential information, and
   3 noninterference. On information and belief, at all times when Vasconcelos agreed to
   4 commit and did commit the wrongdoing described below, he knew that Swan was
   5 located in California.
   6        33.    This Court has personal jurisdiction over Defendant Proton because
   7 Proton has purposefully directed unlawful activities towards California. Proton was
   8 formed for the sole purpose of facilitating the theft of Swan’s mining business in
   9 California while attempting to avoid any scrutiny from United States courts. Proton’s
  10 employees and agents unlawfully stole Swan’s confidential and proprietary
  11 information, including trade secrets in California. The scheme to leave for Proton
  12 with Swan’s confidential information and trade secrets began while Proton’s
  13 employees and agents were employed by and/or contracted with Swan. As alleged
  14 below, and on information and belief, Proton continues to use that confidential
  15 information and those trade secrets to this day. These are intentional acts expressly
  16 aimed at California, the effects of which continue to be felt in California because the
  17 stolen confidential and proprietary information were located in California, Swan is
  18 headquartered in California, and Swan’s principal place of business is in California.
  19 Proton, through its agents and employees, was aware of these facts. At the time the
  20 Defendants conspired to and did steal Swan’s confidential information and trade
  21 secrets, most if not all of Defendant Proton’s agents and employees were employees
  22 or consultants of Swan, all of whom had signed agreements with Swan that identified
  23 Swan’s address in Calabasas, CA, and provided for venue in this district. Defendant
  24 Michael “Alex” Holmes—who is Proton’s founder, one of its most senior executives,
  25 and the ringleader of Defendants’ scheme—knew that Swan was headquartered in
  26 California and that Swan’s Chief Executive Officer resided in California (whose home
  27 Holmes has visited). Thus Proton caused harm that it knew was likely to be suffered
  28 in California.

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   1         34.    Moreover, on information and belief, Holmes resides in California, and
   2 was physically located in California during the period in which he formed Proton and,
   3 as an agent of Proton, breached his contractual obligations with Swan and made
   4 decisions and participated in calls and other communications with respect to the
   5 events giving rise to this lawsuit. On information and belief, Defendant Holmes
   6 founded Proton on August 2, 2024, from California, just six days before terminating
   7 his engagement with Swan and encouraging other former Swan consultants and
   8 employees to do the same and to steal Swan’s confidential material, and now operates
   9 Proton from California. Swan is unaware of any ties Alex Holmes has to the British
  10 Virgin Islands, and is not aware of any Proton employees or consultants—all of
  11 whom, on information and belief, are former Swan consultants and employees—who
  12 reside or work in that jurisdiction. It was foreseeable to Proton that the harm to Swan
  13 would be inflicted in California. Plaintiffs’ claims against Proton arise out of Proton’s
  14 actions that harmed Swan in California.
  15         35.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because
  16 a substantial portion of the events giving rise to the claims occurred in this judicial
  17 district, the intellectual property that is the subject of this dispute is situated in this
  18 judicial district, Defendants Ilios and Holmes reside in this District for purposes of 28
  19 U.S.C. § 1391, and nearly all of the Defendants expressly consented to this venue
  20 pursuant to the contract terms excerpted above.
  21                                           FACTS
  22 I.      Bitcoin, the Blockchain, and Bitcoin Mining.
  23         36.    Bitcoin is a decentralized cryptocurrency, invented in 2008. Unlike
  24 traditional currencies, Bitcoin can be transferred without relying on third parties like
  25 governments or banks. In a traditional banking system, for example, third-party banks
  26 act as ledgers, recording customers’ debits and credits and verifying that money can
  27 move from one account to another. In that system, customers must rely on the bank
  28 to approve and verify every payment. By contrast, Bitcoin is based on a decentralized

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   1 ledger, wherein every transaction in the Bitcoin network is recorded and verified, not
   2 by a single entity like a bank, but by tens of thousands of nodes on a network. Anyone
   3 in the world can join the Bitcoin network by connecting their computer to the network
   4 and tracking transactions in the ledger.
   5         37.   Bitcoin is based on and implemented with several widely used
   6 cryptographic tools. One such tool is the hash (sometimes called cryptographic hash).
   7 A hash is a digital equivalent of a fingerprint for a piece of data, and is used in a wide
   8 variety of cryptographic applications to verify the integrity of that data. The hash of
   9 a piece of data is generated by inputting that data into what is called a cryptographic
  10 hash function. The generated hash is unique to the input set of data but, critically,
  11 cannot be used to reverse engineer the data (even with access to the cryptographic
  12 hash function). Generating hashes is foundational to Bitcoin mining.
  13         38.   The tracking of Bitcoin transactions is accomplished through a
  14 specialized distributed ledger called a blockchain. The blockchain is implemented as
  15 a chronologically ordered list of blocks. Each block contains a hash of the previous
  16 block, thus chaining the blocks together in chronological order.
  17         39.   Each block contains the record of roughly 2400 Bitcoin transactions.
  18 When a Bitcoin user completes a transaction, the transaction is broadcast to other
  19 network members with a digital signature (a cryptographic measure to prevent forged
  20 transactions). A transaction does not become part of the blockchain until it is
  21 successfully added to a block, via a process called “Bitcoin mining.”
  22         40.   Bitcoin mining is the process of adding blocks to the blockchain and, in
  23 doing so, verifying and securing Bitcoin transactions. The process is essential to
  24 Bitcoin’s functioning as a decentralized ledger. The network incentivizes members
  25 to verify transactions by holding a “contest” to determine who wins the right to add
  26 the next block, and the corresponding transactions, into the blockchain. Miners enter
  27 the contest by repeatedly trying different inputs to produce a hash that meets the
  28 network’s difficulty target, validating transactions and securing the blockchain in the

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   1 process. The winning miner receives fees from the added transactions and is issued
   2 Bitcoin as a reward.4 A new block is added (and thus a new “contest” happens)
   3 roughly every ten minutes.
   4         41.   The contest is essentially a lottery, that miners expend significant time
   5 and resources entering. The faster a miner can produce more hashes (i.e., the higher
   6 the “hash-rate”), the more entries they have in each ten-minute lottery, and the more
   7 likely they are to win the contest. Once the winning hash is submitted, other Bitcoin
   8 users will add the block corresponding to the winning hash to their blockchain ledgers
   9 and the contest begins again.
  10         42.   While the basic method for generating hashes is known to anyone
  11 seeking to mine Bitcoin, the many complex strategies for mining Bitcoin effectively
  12 (and profitably) are not, and require much more than simply plugging in a computer
  13 and producing hashes. Mining is extremely expensive and requires deep expertise, as
  14 well as data-driven testing, to participate profitably at scale. Miners use application-
  15 specific integrated circuits (“ASICs”), specialized computerized devices used for the
  16 sole purpose of mining. In addition to the cost of these machines, Bitcoin mining
  17 consumes significant amounts of energy, and mining operations must be constantly
  18 monitored to ensure efficient energy use, to prevent the equipment from overheating,
  19 and to optimize the deployed equipment. The more computational resources an
  20 operation has, the higher its chances to secure Bitcoin through the contest.
  21 Minimizing electricity costs means that with a given amount of money, one can do
  22 more mining, generate higher output, and achieve greater profitability. If energy and
  23 mining operations are not managed efficiently, the hardware, electricity and other
  24 costs necessary for Bitcoin mining can exceed the value of the mined Bitcoin.
  25
  26   4
         The amount of Bitcoin issued to a winning miner decreases over time.
     Approximately every four years, the amount of Bitcoin generated is halved. At
  27 present, a winning miner receives 3.125 Bitcoin. That amount will be the payout until
     the next “Bitcoin halving,” which is expected to be in 2028. This built-in mechanism
  28 to decrease the supply of Bitcoin acts as a pressure on the price of Bitcoin.

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   1         43.    Bitcoin miners also often work together in mining “pools”—groups of
   2 miners who share their computing power over a network. When one miner in the pool
   3 generates a winning hash, all miners in the pool are rewarded based on the amount of
   4 hashing power each contributes.. Mining pools help make revenue for miners more
   5 predictable in what is an extremely volatile market.
   6         44.    Given the high costs of entry, intense competition, and volatile market
   7 conditions, companies that mine Bitcoin generally operate on thin profit margins.
   8 Small gains in cost or energy efficiency are crucial to securing an edge over
   9 competitors, maximizing profits, and weathering swings and crunches in the market.
  10         45.    If done well, however, Bitcoin mining can be extremely lucrative. The
  11 value of a single Bitcoin on the date of this filing (January 27, 2025) is approximately
  12 $100,000 (up from approximately $63,000 when this action was first filed on
  13 September 25, 2024). At the current market rate, the 3.125 Bitcoin awarded with the
  14 creation of each new block equates to over $300,000 awarded to miners every ten
  15 minutes.
  16 II.     Entrepreneurs Cory Klippsten and Yan Pritzker Found Swan.
  17         46.    Cory Klippsten founded Electric Solidus, LLC—what is now Electric
  18 Solidus, Inc., doing business as Swan Bitcoin—in June 2019, with Yan Pritzker
  19 joining the company later that year.
  20         47.    Klippsten, Swan’s Chief Executive Officer, has always been passionate
  21 about technology.      Before receiving an MBA from the University of Chicago,
  22 Klippsten worked at Microsoft and Morgan Stanley, and later worked at McKinsey
  23 and Google. Klippsten entered the world of early-stage tech in 2013 as an investor
  24 and advisor to venture-backed startups, experiencing significant success. He began
  25 deep research into Bitcoin in 2017, resulting in a desire to shift all of his professional
  26 efforts toward promoting adoption of the currency. Klippsten is a partner, investor,
  27 and advisor of multiple Bitcoin-focused venture capital firms, and over the years has
  28 served as an investor and advisor to more than 60 early-stage tech companies.

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   1 mining and digital infrastructure company, from 2019 through 2022, and shared a
   2 keen interest in playing a role in the mining space over time. They had monitored and
   3 grown familiar with the industry, which they felt was largely filled with companies
   4 who were either unable to scale their Bitcoin mining operations or otherwise failing
   5 to develop business at potential mining sites. Swan created a new “Institutional”
   6 division in January 2023, with a primary focus on developing financial services for
   7 investors and operators in Bitcoin mining.
   8        53.    To start Swan’s Bitcoin mining business, it brought on several of the
   9 largest Bitcoin miners as sponsors of its Pacific Bitcoin conferences in November
  10 2022 and October 2023, and of Swan’s media properties from 2022 to the present.
  11 Swan also hosted a “VIP Mining Industry Day” at its annual conference in 2023,
  12 attended by CEOs and senior executives of most of the top 10 mining companies,
  13 along with numerous Wall Street bankers and analysts. With the hiring of Guilherme
  14 Gomes (who eventually became Swan’s President, and was previously employed by
  15 Ray Dalio’s famed investment manager Bridgewater) in May 2022 and Raphael
  16 Zagury (who eventually became Swan’s Chief Investment Officer, and was
  17 previously a long-tenured Wall Street investment banker) in December 2022, Swan
  18 began planning in earnest to serve large Bitcoin miners in early 2023 as clients of its
  19 Swan Institutional unit.
  20        54.    On June 1, 2023, Klippsten learned of a Bitcoin mining site in Tasmania,
  21 Australia, from a Swan employee who had invested in the project in 2021. At the
  22 time, the site was operated by an Australian-based Bitcoin mining company, DAME.
  23 Klippsten immediately recognized the DAME site’s great potential: to build a large
  24 new Bitcoin mining operation site in a jurisdiction with a favorable regulatory and
  25 financing regime and extremely low energy costs. That evening, Klippsten mentioned
  26 the site to his friend Defendant Holmes, who told Klippsten that he was aware of
  27 DAME and that he was working to secure a Series A round of funding for the site.
  28 Klippsten and Holmes agreed that Swan would work to source investment for the

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   1 fundraise.
   2        55.    Early the next day, Klippsten spoke with Giancarlo Devasini of Tether,
   3 a cryptocurrency company, and they agreed that Tether would provide funding for
   4 Swan to expand operations at the site, with Swan managing the mining investment.
   5 Swan and Tether, through Tether’s subsidiary Zettahash Inc., entered into a joint
   6 venture (along with a third-party individual who originally helped to facilitate the
   7 relationship) known as 2040 Energy (a reference to the jersey numbers of Klippsten’s
   8 favorite basketball players, Gary Payton and Shawn Kemp), which would govern the
   9 arrangement at that site, as memorialized in a Shareholders Agreement dated July 28,
  10 2023. With years of experience and contacts in the Bitcoin industry, and now a
  11 foothold deal and a financial backer, the Swan team quickly set about exploring
  12 additional opportunities in the mining space.
  13        56.    Within a month, Swan was aggressively purchasing as many Bitcoin
  14 mining machines as it could find, through a new initiative it named “Project Corner”
  15 (as in, “corner the market”). After analyzing and researching potential locations to
  16 deploy those machines—including assessing what types of and how many machines
  17 to deploy where, and modeling deployment scenarios to maximize electricity gains—
  18 Swan began contracting with host sites. Defendant Holmes consulted to Swan for the
  19 sourcing of both machines and sites.5
  20        57.    Swan also started hiring and building out its mining team, who would
  21 manage the day-to-day operations at mining sites. Those interested and working in
  22 the Bitcoin space (“Bitcoiners”) were eager to join—the Swan brand was highly
  23 respected and Swan had established itself as a trusted authority on Bitcoin and among
  24 the most desirable places to work in the industry. Job postings for Swan often
  25 attracted hundreds of applications from highly qualified individuals both inside and
  26
  27   5
       Swan and Holmes would negotiate and reduce to writing their relationship with a
     consulting agreement Defendant Holmes signed on behalf of his personal company
  28 Defendant Ilios before the end of the year that included backpay.

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   1 outside of the industry, heavily aided by Swan’s ownership of the dominant Bitcoin
   2 industry job board, Bitcoinerjobs.com (created by Klippsten in 2021).
   3        58.    Swan’s then-Chief Investment Officer, Raphael Zagury, also was at the
   4 forefront of the operation. Swan had originally hired Zagury in December 2022, and
   5 he served on Swan’s executive team. As Chief Investment Officer, Zagury believed
   6 Swan could grow its investment in Bitcoin mining substantially.
   7        59.    In July 2023, Zagury started managing the Tasmanian mining operations
   8 for Swan, and Swan’s mining team grew from approximately five to twelve dedicated
   9 employees and independent contractors—eventually including Vice President of
  10 Institutional Operations & Research Brett Hiley, Financial Controller Tyler Effertz,
  11 Technical Researcher Kartheek Sola, and Staff Accountant Aleksander Dozic, and
  12 consultants (and other individual Defendants) Investment Director Thomas Patrick
  13 Furlong, Special Situations Analyst Santhiran Naidoo, Investment Analyst Rafael
  14 Dias Monteleone, Junior Investment Analyst Enrique Romualdez, and Software
  15 Engineer Lucas Vasconcelos. Defendant Holmes consulted through his personal
  16 company, Defendant Ilios, and Swan retained Maxwell Berg, of MB Law LLC, to
  17 serve as Swan’s external Associate General Counsel tasked with assisting in various
  18 corporate and commercial matters. Swan’s executive team, including CEO Klippsten,
  19 then-President Gomes, and then-General Counsel Bill Belitsky also oversaw the new
  20 mining team.
  21        60.    At the same time, Swan built out the proprietary aspects of its business
  22 and mining operations that would distinguish Swan from its competitors.6
  23        61.    First, Swan developed, utilized, and refined methods to rapidly
  24 investigate and identify potential mining sites. Few locations offer even the potential
  25 for a successful Bitcoin mining datacenter. In the mining industry, it is not uncommon
  26
  27   6
      Swan will further identify the specific trade secrets that it has reason to believe
     Defendants misappropriated in a trade secret identification statement pursuant to the
  28 Court’s January 7, 2025 Order Setting Scheduling Conference. See Dkt. 95 at 6-7.

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   1 IV.    The Individual Defendants Contract to Provide Services to Swan.
   2        89.    Each of the Individual Defendants contracted with Swan to provide
   3 consulting services, pursuant to substantially similar consulting agreements (the
   4 “Consulting Agreements”).
   5        90.    Defendant Naidoo entered into a Consulting Agreement with Swan on
   6 July 26, 2023. See Ex. A. Naidoo agreed to act as a Special Situations Analyst for
   7 Swan, responsible for, among other things, monitoring and evaluating the
   8 performance of Bitcoin mining operations.
   9        91.    Defendant Vasconcelos entered into a Consulting Agreement with Swan
  10 on October 1, 2023. See Ex. B. Vasconcelos agreed to act as a Software Engineer
  11 for Swan.
  12        92.    Defendant Holmes entered into a Consulting Agreement with Swan on
  13 December 6, 2023, on behalf of Defendant Ilios, the entity through which Defendant
  14 Holmes contracted to provide his consulting services. See Ex. C. Holmes agreed to
  15 provide Swan with a variety of services related to the company’s mining operations.
  16 Recognizing that Defendant Holmes’s engagement with the company had begun
  17 earlier that year, Swan agreed to pay, and did pay, Defendant Holmes backpay
  18 retroactive to July 1, 2023.
  19        93.    Defendant Romualdez entered into a Consulting Agreement with Swan
  20 on December 14, 2023. See Ex. D. Romualdez agreed to act as a Junior Investment
  21 Analyst for Swan, responsible for, among other things, monitoring and evaluating the
  22 performance of Bitcoin mining operations.
  23        94.    Defendant Monteleone entered into a Consulting Agreement with Swan
  24 on May 13, 2024. See Ex. E. Monteleone agreed to act as an Investment Analyst for
  25 Swan, and provide Swan with a variety of services related to the company’s mining
  26 operations, including monitoring and assessing Swan’s Bitcoin mining sites and
  27 developing tools and metrics to assess site performance, pinpoint potential
  28 bottlenecks, and streamline the mining process for enhanced efficiency.

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   1           95.   Defendant Furlong entered into a Consulting Agreement with Swan on
   2 May 21, 2024. See Ex. F. Furlong agreed to act as an Investment Director for Swan,
   3 and provide Swan with a variety of services related to the company’s mining
   4 operations.
   5           96.   Each of the Individual Defendants also agreed under his consulting
   6 agreement that any inventions or trade secrets he purportedly developed while
   7 working for Swan would be Swan’s property:
   8                 Assignment of Inventions. Consultant agrees that all right,
                     title, and interest in and to any copyrightable material, notes,
   9
                     records, drawings, designs, inventions, improvements,
  10                 developments, discoveries, ideas and trade secrets
                     conceived, discovered, authored, invented, developed or
  11
                     reduced to practice by Consultant, solely or in collaboration
  12                 with others, during the term of this Agreement and arising
                     out of, or in connection with, performing the Services under
  13
                     this Agreement, including Services provided to the
  14                 Company before the date hereof, and any copyrights,
  15                 patents, trade secrets, mask work rights or other intellectual
                     property rights relating to the foregoing (collectively,
  16                 “Inventions”), are the sole property of the Company.8
  17           97.   The Individual Defendants also agreed in their consulting agreements to
  18 provide prior written notice if, during the course of their consultancies, they
  19 incorporated any inventions, trade secrets, or other proprietary information or
  20 intellectual property owned by the consultant into their work for Swan. None ever
  21 did so.
  22           98.   Other Swan employees and consultants working on Swan’s mining
  23 team—including those that conspired with the Individual Defendants to steal Swan’s
  24 mining business—signed agreements containing similar provisions.
  25 V.        Swan Protects the Secrecy of Its Proprietary Information.
  26           99.   To protect the competitive advantage Swan’s proprietary and trade secret
  27
  28   8
           See Exs. A-F (Section 3(A)).
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   1 mining information conferred on its business, Swan’s mining employees and
   2 consultants (including each of the individual Defendants) agreed to hold all of Swan’s
   3 confidential and proprietary information and trade secrets in the strictest confidence.
   4         100. Defendants Furlong, Holmes (on behalf of Defendant Ilios), Monteleone,
   5 Naidoo, Romualdez, and Vasconcelos specifically agreed in their consulting
   6 agreements that:
   7                During and after the term of this Agreement, Consultant will
                    hold in the strictest confidence, and take all reasonable
   8                precautions to prevent any unauthorized use of disclosure of
                    Confidential Information,9 and Consultant will not (i) use
   9                the Confidential Information for any purposes whatsoever
                    other than as necessary for the performance of the Services
  10                on behalf of the Company, or (ii) subject to Consultant’s
                    right to engage in Protected Activity (as defined below [i.e.,
  11                filing a charge with the Government]), disclose the
                    Confidential Information to any third party without the prior
  12                written consent of an authorized representative of the
                    Company, except that Consultant may disclose Confidential
  13                Information to the extent compelled by applicable law;
                    provided however, prior to such disclosure, Consultant shall
  14                provide prior written notice to [the] Company and seek a
                    protective order or such similar confidential protection as
  15                may be available under applicable law. Consultant agrees
                    that no ownership of Confidential Information is
  16                conveyed to the Consultant. Without limiting the foregoing,
  17   9
         “Confidential Information” is defined as “any information (including any and all
       combinations of individual items of information) that relates to the actual or
  18   anticipated business and/or products, research or development of the Company, its
       affiliates or subsidiaries, or to the Company’s, its affiliates’ or subsidiaries’ technical
  19   data, trade secrets, or know-how, including, but not limited to, research, product plans,
       or other information regarding the Company’s, its affiliates’ or subsidiaries’ products
  20   or services and markets therefor, customer lists and customers (including, but not
       limited to, customers of the Company on whom Consultant called or with whom
  21   Consultant became acquainted during the term of this Agreement), software,
       developments, inventions, discoveries, ideas, processes, formulas, technology,
  22   designs, drawings, engineering, hardware configuration information, marketing,
       finances, and other business information disclosed by the Company, its affiliates or
  23   subsidiaries, either directly or indirectly, in writing, orally or by drawings or
       inspection of premises, parts, equipment or other property of [the] Company, its
  24   affiliates or subsidiaries.” “Confidential Information” does not include information
       that was publicly available through no wrongful act of the consultant or was
  25   independently developed “with no reference to the Confidential Information.”
       Defendant Ilios’s consulting agreement also excludes from the definition of
  26   “Confidential Information” “all of Consultant’s involvement, relationship, and
       dealings with Daniel Tuzzio [], and all of Tuzzio’s affiliated entities, whether in
  27   existence prior to or after the Effective Date” of the Agreement. Tuzzio was a
       preexisting business associate of Defendant Holmes who Swan and Holmes agreed
  28   would perform services for Swan through Holmes.
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   1                 Consultant shall not use or disclose any Company property,
                     intellectual property rights, trade secrets or other proprietary
   2                 know-how of the Company to invent, author, make,
                     develop, design, or otherwise enable others to invent,
   3                 author, make, develop, or design identical or substantially
                     similar designs as those developed under this Agreement for
   4                 any third party. Consultant agrees that Consultant’s
                     obligations under this Section [] shall continue after the
   5                 termination of this Agreement.10
   6           101. Swan reiterated the necessity of maintaining the confidentiality of
   7 Swan’s information to its consultants in its “Contractor Playbook,” which it provides
   8 to all consultants and contractors, including the Individual Defendants. The
   9 Contractor Playbook explains that “[i]t is crucial to maintain confidentiality regarding
  10 company information and client discussions.” The Contractor Playbook directs
  11 consultants and contractors to “assume anything Swan-related is confidential –
  12 including company, employee/contractor/staff, and client information.”              Swan’s
  13 “Employee Playbook” contains similar guidance.
  14           102. To bolster these protections, Swan also supplemented the mining
  15 employee and contractor agreements with a robust infrastructure of agreements,
  16 policies, and technological safeguards to maintain the secrecy of its confidential and
  17 proprietary information and trade secrets.
  18           103. Swan’s Information Security Policy, for example, “ensures that Swan’s
  19 information assets are properly identified, recorded, and afforded suitable security
  20 measures at all times.” The Policy provides that access to Swan documents must be
  21 limited to the “most restrictive level possible that still enables the user to perform their
  22 job effectively,” explains that “[e]mployees and contractors are required to maintain
  23 the confidentiality of information to them by Swan, its customers, and suppliers,” and
  24 cautions that “[u]nauthorized use or distribution of proprietary information violates
  25 Swan’s Policy and may be illegal and result in civil and/or criminal penalties.” It
  26 identifies seventeen activities that are “strictly prohibited, with no exceptions,”
  27
  28   10
            See Exs. A-F.
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   1 including:
   2               •      Violations of the rights of any person or company protected by
   3                      copyright, trade secret, patent, or other intellectual property, or
   4                      similar laws or regulations. . . .
   5               •      Accessing data, a server, or an account for any purpose other than
   6                      conducting Swan Bitcoin business, even if you have authorized
   7                      access; and
   8               •      Providing information about or lists of Swan Bitcoin employees,
   9                      contractors, partners, or customers to parties outside Swan Bitcoin
  10                      without authorization.
  11         104. Swan’s Security Agents Policy also requires two security applications to
  12 be present “on all devices that interact with Swan or company-wide data,” which the
  13 Policy advises “is crucial for ensuring the integrity and protection of our Swan assets.”
  14 One application “is used in enforcing Swan security policies . . . contributing
  15 significantly to the overall security posture of [Swan’s] systems.”           The other
  16 application “serves as an additional layer of defense, boosting [Swan’s] cybersecurity
  17 measures to safeguard against external threats.”
  18         105. To access the system that houses Swan’s confidential and proprietary
  19 information and trade secrets, Swan’s mining employees and consultants must enter
  20 a password that must meet certain complexity requirements, as well as engage in a
  21 multi-factor authentication process that requires the user to successfully present
  22 multiple pieces of evidence to prove their identity.
  23         106. Swan also engages a third-party “white hat” hacker service provider to
  24 identify potential vulnerabilities in Swan’s cybersecurity infrastructure that outside
  25 actors might seek to exploit, so that Swan can secure those vulnerabilities before
  26 malicious actors find them. The security protections surrounding BNOC are among
  27 the cybersecurity infrastructure that vendor analyzes.
  28         107. Swan undertook even further protections for BNOC, securely storing the

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   1 VI.    Swan Expands 2040 Energy, a Financing Arrangement to Raise Capital
            for Bitcoin Mining.
   2
   3        109. As alleged above, to support Swan’s goal of expanding further into the
   4 Bitcoin mining industry, Klippsten had contacted Tether about providing capital for
   5 a mining project with DAME. Tether had invested in Swan before through an entity
   6 named “BFX Ventures Limited.” The funding arrangement that Tether and Swan
   7 ultimately entered into regarding DAME was called 2040 Energy.
   8        110. Swan’s successful operation of the DAME site served as early proof that
   9 Swan’s site-selection strategies could be used to source and quickly develop
  10 successful mining operations elsewhere. Swan used those techniques to identify and
  11 evaluate mining sites that showed potential for success. After Swan identified such
  12 sites, it frequently prepared confidential memoranda for Tether to solicit funding to
  13 develop those sites. Tether opted to fund some sites and declined to fund others, not
  14 unlike how a venture capital firm might selectively choose to invest in potential
  15 portfolio companies. Tether was under no obligation to provide funding for Swan’s
  16 proposals, and Swan was under no obligation to provide Tether with those proposals.
  17        111. The parties used 2040 Energy as a special purpose investment vehicle—
  18 i.e., a “Venture Capital”-style funding arrangement whereby funds would be used for
  19 specific investment opportunities. 2040 Energy did not contract with employees or
  20 consultants, and Swan was solely responsible for managing the mining operations
  21 funded under 2040 Energy. Swan’s mining employees and consultants—who entered
  22 into contractual agreements with Swan, not 2040 Energy—managed mining
  23 operations for 2040 Energy projects and engaged with business vendors and partners
  24 (including equipment vendors and datacenter mining hosts) using the Swan brand.
  25 Klippsten served as 2040 Energy’s CEO (as well as Swan’s CEO), overseeing Swan’s
  26 mining team and operations. Swan consultants and employees managed all aspects
  27 of those operations, negotiating agreements with potential mining sites and third-party
  28 vendors, and monitoring and directing operations at those sites.

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   1 was the best CEO in the space.
   2         116. With Swan’s mining operation growing, by February 2024, Tether and
   3 Swan had agreed in principle to enter into a new funding agreement, known as 2140
   4 Energy, which would further invest in the Tasmania site and other Bitcoin mining
   5 opportunities. The terms the parties negotiated for 2140 Energy were markedly more
   6 favorable to Swan, and granted Swan a greater share of the profits from the mining
   7 operations, more quickly, than Swan received under the 2040 Energy arrangement.
   8         117. Although Tether and Swan continued to engage in their joint venture
   9 throughout 2024 based on their agreed-upon terms for 2140 Energy, before they
  10 committed their agreement to a signed contract, Defendants and their other
  11 conspirators11 decided to enrich themselves at Swan’s expense. They hatched a plan
  12 to steal Swan’s mining business from the inside, usurp Swan’s role, and cut Swan out
  13 from the Tether joint venture. They dubbed their plan “rain and hellfire.”
  14         118. Defendants and their co-conspirators executed their “rain and hellfire”
  15 plan by: (a) downloading all of Swan’s confidential and proprietary business
  16 information and trade secrets necessary to operate Swan’s Bitcoin mining business,
  17 including BNOC source code and other material they would need to operate a
  18 competing mining business; (b) creating a new company, Defendant Proton, which
  19 Swan’s then-CIO Zagury would operate as CEO with Swan’s then-Investment
  20 Director Defendant Naidoo as CIO, and which would employ other Defendants and
  21 Swan conspirators; and (c) soliciting “legal cover” from Tether to claim that Swan—
  22 following their departure—could no longer manage mining for 2040 Energy, push
  23
  24   11
          Defendants’ conspirators constituted nearly all of Swan’s mining personnel,
       including Raphael Zagury (Swan’s then-Chief Investment Officer), Bill Belitsky
  25   (Swan’s then- General Counsel), Brett Hiley (Swan’s then-Vice President of
       Institutional Operations & Research), Tyler Effertz (Swan’s then-Financial
  26   Controller), Kartheek Sola (Swan’s then-Technical Researcher), and Aleksander
       Dozic (Swan’s then-Accountant). Those conspirators are not defendants in this action
  27   because their agreements with Swan—unlike the Individual Defendants’ Consulting
       Agreements—provide for a different dispute resolution procedure. Swan is currently
  28   pursuing claims against those individuals consistent with their agreements.
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   1 Swan out of its joint venture with Tether, and insert Defendant Proton as Swan’s
   2 replacement. Throughout this process, the Individual Defendants were no longer
   3 acting for Swan’s benefit; they were acting exclusively for Proton as its agents, in
   4 order to enrich Proton and the other Defendants at Swan’s expense.
   5        119. Swan did not uncover the “rain and hellfire” plan until after the
   6 individual Defendants and their conspirators blindsided Swan with their coordinated
   7 resignations on August 8-9, 2024. Since that time, Swan was able to retrieve and
   8 review electronic data and forensic activity logs associated with departing employees’
   9 and consultants’ accounts and reconstruct at least some of their treachery—though
  10 Swan continues to learn new to this day, and much of the story and relevant evidence
  11 remains in Defendants’ sole possession. The logs that Swan has been able to recover
  12 show that Swan’s former employees and consultants—including Zagury, Defendant
  13 Furlong, Defendant Monteleone, Defendant Naidoo, Hiley, and Dozic—accessed,
  14 downloaded, and collectively took large volumes of Swan’s confidential and
  15 proprietary information and trade secrets in the weeks and days preceding their
  16 coordinated resignations, without Swan’s knowledge and in violation of their Swan
  17 contracts and Swan’s policies. They did so at least by exporting that information to
  18 personal devices, sharing files with non-Swan email accounts, and absconding with
  19 their Swan-issued laptops.
  20        120. Swan was also able to review electronic communications—including
  21 emails and video call logs—from Defendants’ and the other conspirators’ business
  22 accounts, together with detailed notes they kept and saved to the Swan system as they
  23 made plans to implement their conspiracy. While Swan’s investigation is ongoing,
  24 this much is now clear:
  25        121. In late June 2024, and unbeknownst to Swan, Zagury secretly met with
  26 outside counsel for Tether and 2040 Energy at the EAST Miami hotel. Zagury did
  27 not relay any details from that meeting to Swan, even though he was a Swan officer
  28 and owed fiduciary duties to Swan. Swan only learned of the meeting after Zagury’s

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   1 sudden resignation, as part of Swan’s investigation into Zagury’s messaging and
   2 calendar history.
   3        122. Meanwhile, on July 3, 2024, Zagury relayed privately to Swan’s then-
   4 President, Guilherme Gomes, a summary of a discussion Zagury had with Lyons,
   5 explaining that Lyons apparently believed Swan’s Bitcoin mining business was “in a
   6 good position” and was “crushing it.” Zagury then floated the Defendants’ and Swan
   7 conspirators’ double-cross—he discussed with Gomes the possibility of forming a
   8 new company that would replace Swan as the operator of 2040 Energy. Zagury would
   9 be the new company’s CEO, Swan’s then-Investment Director Naidoo would be the
  10 COO, and Defendant Holmes would be the Head of Operations and Procurement:
  11 “It’s easy. I [Zagury] keep playing. I would be CEO. [Defendant] San [Naidoo] could
  12 be the COO, [Defendant Michael] Alex [Holmes] the head of operations and
  13 procurement.”       Under this proposed arrangement, after the Defendants usurped
  14 Swan’s mining operations, Tether would receive 50% of profits from their continued
  15 mining operations, the Defendants and their co-conspirators would receive 40%, and
  16 Swan’s share would be reduced to 10%. Of course, Zagury, the Defendants, and the
  17 other conspirators knew that simply swapping out Swan for Proton as the manager
  18 and operator of 2040 Energy’s mining operations would destroy 2040 Energy’s
  19 mining business, because for Proton to independently develop a mining operation
  20 comparable to Swan’s would require years of work—if Proton could achieve it at all.
  21 And so a central part of Defendants’ plot was to steal Swan’s confidential information
  22 and trade secrets and deploy it for Proton. Defendants ultimately opted to steal
  23 Swan’s mining business outright, and cut Swan out entirely.
  24        123. On July 11, 2024, Zagury and Defendant Naidoo met with Lyons.
  25 According to Zagury’s contemporaneous notes of this meeting, the group discussed
  26 the possibility of certain Swan employees and consultants leaving Swan and going to
  27 Tether or another operator to “[k]eep doing what [they’re] doing.”
  28        124. Zagury and Tether CFO Devasini met on July 20, 2024. Later that day,

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   1 Zagury told Klippsten—who was under the misimpression that Zagury was acting
   2 consistent with his fiduciary obligations to Swan—that Devasini wanted to appoint
   3 Zagury as a board member of 2040 Energy (ostensibly for Swan) and transfer custody
   4 of 2040 Energy’s Bitcoins to an account controlled by Zagury. Zagury also contacted
   5 members of Swan’s Board of Directors—who also did not know Zagury was a double-
   6 agent—and recommended that they agree to sell Swan’s mining business to Tether at
   7 a significantly lower valuation than a valuation Tether had proposed weeks earlier.
   8 That valuation was also considerably lower than the valuation that Zagury himself
   9 gave Swan’s mining business before his meetings with Lyons in June.
  10        125. Defendant Holmes, Defendant Naidoo, Zagury, and Lyons met again on
  11 Zoom on July 27, 2024. On information and belief, the purpose of the meeting was
  12 to discuss (i) how Defendant Holmes, Defendant Naidoo, and Zagury (with others
  13 inside Swan) would steal Swan’s confidential information and trade secrets so they
  14 could use them for Proton; (ii) the simultaneous resignations of virtually all Swan
  15 employees and contractors servicing the mining business, so that Swan would not
  16 learn of Defendants’ scheme until it was too late; (iii) Defendant Holmes’ formation
  17 of a new entity (Proton) on whose behalf Defendants would execute their scheme; and
  18 (iv) how 2040 Energy would have Proton, armed with Swan’s confidential
  19 information and trade secrets that Defendants stole, take over 2040 Energy’s
  20 operations from Swan.
  21        126. On information and belief, while Defendant Holmes, Defendant Naidoo,
  22 Zagury, and Lyons planned the details of their heist, they simultaneously began
  23 reaching out to other Swan consultants and employees to recruit them into the scheme.
  24 The Individual Defendants and their conspirators appear to have taken steps to
  25 conceal these communications from Swan, including by using ephemeral messaging
  26 applications or discussing issues over non-written channels of communication. For
  27 example, on July 21, 2024, Defendant Naidoo sent Defendant Romualdez a message
  28 over Slack, asking him, “Can you send me your signal number please.” Signal is an

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   1 encrypted messaging application that can automatically delete messages after they are
   2 read. On information and belief, Defendants were communicating about their scheme
   3 on Signal or by other methods whereby relevant evidence would be destroyed, even
   4 though they fully anticipated—and expressly discussed—the likelihood of litigation
   5 arising from their scheme. Romualdez responded by providing his Signal contact
   6 number. Two days later, Naidoo messaged Romualdez again over Slack, asking, “you
   7 doing ok? anything i can help with?” Romualdez replied, “Doing good man - battle
   8 ready haha. How about you?” Naidoo responded, “trying to be chilled… trying to
   9 just work,” then “big picture still in place.”
  10        127. Contemporaneous notes from meetings between Zagury, Defendant
  11 Alex Holmes, Defendant Naidoo, then-Swan General Counsel Belitsky, and then-
  12 Swan outside counsel Berg (MB Law LLC) detail Defendants’ and their conspirators’
  13 resultant “rain and hellfire” scheme on behalf of Proton to “bring the heat” through a
  14 “staged walk out” that would “blow everything up” at Swan:
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   1 VIII. The Defendants Execute Their Scheme.
   2        128. As July turned into August, the Defendants and the Swan conspirators
   3 executed on their “rain and hellfire” plan. They kept all of this secret from Swan,
   4 leaving Swan to piece things together after Defendants were already out the door.
   5        129. On July 25, 2024, Defendant Monteleone downloaded a component of
   6 Swan’s BNOC source code (“bnoc-cron”) within GitHub.
   7        130. On July 29, 2024, Defendant Proton, through an agent, filed a document
   8 in the British Virgin Islands seeking to reserve the name “Proton Management” for a
   9 new corporation. On information and belief, Defendant Holmes caused this document
  10 to be filed from California.
  11        131. On July 30, 2024, the website domain “Elektron-Energy.com” was
  12 registered. On information and belief, one or more of the Individual Defendants
  13 caused that domain name to be registered.
  14        132. Also on July 30, 2024, Defendant Monteleone added a “personal access
  15 token” labeled “Elektron” to his GitHub account, as reflected in emails sent to
  16 Monteleone’s Swan email account. That personal access token provided access to
  17 Swan’s GitHub source code files to an entity or individual with access to that
  18 “Elektron” token. That same day, Defendant Monteleone downloaded a copy of
  19 Swan’s BNOC core mining dashboard source code and, prior to August 8, 2024,
  20 exfiltrated this proprietary source code into a source code repository outside of
  21 Swan’s systems, in violation of Swan policy.
  22        133. Also on July 30, 2024, Swan’s then-Vice President of Institutional
  23 Operations & Research Hiley downloaded approximately 319 documents from
  24 Swan’s Google Drive. This included, for example, highly confidential monthly
  25 mining performance data, data related to mining inventory, operations and machine
  26 performance and configuration by site, meeting notes, and Swan policies and
  27 procedures. Of particular note, Hiley downloaded a log of weekly reports to Klippsten
  28 that provide in-depth analysis and details about all of Swan’s mining sites and

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   1        141. Defendant Holmes, Defendant Naidoo, Lyons, and Zagury spent the
   2 morning of August 8, 2024, on videoconference calls amongst themselves, other
   3 Individual Defendants, and their co-conspirators. On information and belief, they
   4 coordinated the final steps of stealing Swan’s trade secrets and confidential
   5 information; resigning from Swan en masse; and inserting Defendant Proton to take
   6 over Swan’s mining business and its place within 2040 Energy.
   7        142. Specifically, the conspirators conferred over the course of two video
   8 calls, the first of which began at approximately 4:10 a.m.13
   9        First Call – August 8, 2024, 4:10 a.m. – 7:55 a.m.
  10        ▪ 4:10 a.m. – Defendant Naidoo and Zagury begin call.
  11        ▪ 4:45 a.m. – Marlin Capital’s Zachary Lyons joins.
  12        ▪ 5:10 a.m. – Lyons leaves.
  13        ▪ 5:45 a.m. – Swan’s then-outside counsel Max Berg joins.
  14        ▪ 5:56 a.m. – Swan’s then-General Counsel Belitsky joins.
  15        ▪ 6:30 a.m. – Defendant Alex Holmes joins.
  16        ▪ 7:02 a.m. – Berg leaves.
  17        ▪ 7:17 a.m. – Belitsky leaves.
  18        ▪ 7:23 a.m. – Defendant Furlong joins.
  19        ▪ 7:44 a.m. – Defendant Furlong leaves.
  20        ▪ 7:55 a.m. – Defendant Holmes, Defendant Naidoo, and Zagury end call.
  21        143. Defendant Holmes, Defendant Naidoo, Lyons, and Zagury reconvened
  22 at approximately 8:40 a.m. One-by-one, and in close succession, almost all of the
  23 remaining conspirators joined and left that call.
  24        Second Call – August 8, 2024, 8:40 a.m. – 10:20 a.m.
  25        ▪ 8:40 a.m. – Defendants Holmes and Naidoo, Lyons, and Zagury begin call.
  26        ▪ 8:46 a.m. – Defendant Naidoo and Lyons leave call.
  27
     13
        Throughout, all times refer to Pacific Standard Time and are approximate, unless
  28 otherwise noted.

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   1         ▪ 8:52 a.m. – Swan Financial Controller Effertz joins.
   2         ▪ 9:18 a.m. – Effertz leaves.
   3         ▪ 9:19 a.m. – Swan Staff Accountant Dozic joins.
   4         ▪ 9:39 a.m. – Dozic leaves.
   5         ▪ 9:41 a.m. – Swan Technical Researcher Kartheek Sola joins.
   6         ▪ 9:52 a.m. – Sola leaves.
   7         ▪ 9:54 a.m. – Defendant Monteleone joins.14
   8         ▪ 10:14 a.m. – Defendant Monteleone leaves.
   9         ▪ 10:20 a.m. – Defendant Holmes and Zagury end call.
  10         144. On information and belief, Defendants Vasconcelos and Romualdez
  11 were part of this group and were actively involved in Defendants’ schemes and
  12 misappropriation. All told, these calls lasted over five hours, as illustrated below:
  13
  14
           Naidoo
  15
          Holmes
  16
           Zagury
  17        Lyons
  18         Berg
  19      Belitsky

  20      Furlong

  21       Effertz
            Dozic
  22
             Sola
  23
       Monteleone
  24
               4:00 AM 5:00 AM 6:00 AM 7:00 AM 8:00 AM 9:00 AM 10:00 AM
  25
  26
     14
        Swan’s call logs identify this participant as “Rafael.” On information and belief,
  27 “Rafael” refers to Defendant Monteleone. Similarly, the logs discussed above
     identify a “Tom” and “Karl”; Swan believes those names refer to Defendant Furlong
  28 and Kartheek Sola, respectively.

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   1        145. Approximately twenty minutes after speaking with Defendant Naidoo
   2 and Zagury, Dozic, on behalf of Proton, began downloading approximately 616 files
   3 to an external hard drive named “\Device\HarddiskVolume 7\.” These files included,
   4 for example, economic modeling related to Swan’s mining and general business
   5 operations, Swan budgets, general ledgers, customer invoices related to Bitcoin
   6 mining, mining inventories, contracts, Bitcoin wallet information regarding Swan and
   7 its partners within 2040 Energy, energy reports, banking information, and “Earnings
   8 and BTC Distribution” reports broken down by individual mining sites.
   9        146. Later that day, Dozic, on behalf of Proton, also downloaded a document
  10 off Swan’s Notion’s platform entitled “Invoice and Payments Tracker,” which
  11 includes Swan’s confidential and proprietary customer and pricing information.
  12        147. That same day, Defendant Monteleone, on behalf of Proton, duplicated
  13 Swan’s BNOC source code and exfiltrated it to the GitHub organization, “elektron-
  14 tech,” and a repository named “nxt” that is unassociated with Swan. Evidencing this
  15 theft, Defendant Monteleone received an alert from his GitHub account to his Swan
  16 work email address that day, informing him of an error in building a version of BNOC
  17 software that appeared identical to Swan’s, indicating that Swan’s BNOC source code
  18 had been cloned and stolen. When he realized that alerts of his suspicious GitHub
  19 activity were being sent to a Swan email address, Defendant Monteleone immediately
  20 took action to remove his Swan work email address from his GitHub account to evade
  21 further detection. Four minutes after the first alert, GitHub sent another alert to
  22 Defendant Monteleone’s Swan work email address confirming he had removed his
  23 Swan work email address from his GitHub account.
  24        148. All told, the Individual Defendants and their conspirators, all on behalf
  25 of Proton, collectively downloaded thousands of files in their last weeks with Swan—
  26 right up to hours before they left—without any legitimate business reasons to do so.
  27 Indeed, these downloads represented massive spikes compared to the conspirators’
  28 previous download activity.

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   1        149. For example, all of Hiley’s downloads from Swan’s Google Drive
   2 between June 1 through his resignation on August 8 occurred on July 30. On that day,
   3 he downloaded 319 files from Swan’s Google Drive:
   4                                         Hiley Google Drive Downloads
             350
   5
             300
   6
             250
   7
   8         200

   9         150

  10         100

  11          50

  12              0
                      1-Jun   8-Jun     15-Jun   22-Jun   29-Jun    6-Jul     13-Jul     20-Jul   27-Jul   3-Aug   10-Aug
  13
  14
  15        150. Similarly, all of Dozic’s downloads from Swan’s Google Drive from
  16 June 1 through his resignation occurred in August, as shown below:
  17
                                            Dozic Google Drive Downloads
  18        120

  19
            100
  20
  21         80

  22
             60
  23
             40
  24
  25         20

  26
              0
  27              1-Jun       8-Jun     15-Jun   22-Jun    29-Jun     6-Jul     13-Jul      20-Jul    27-Jul   3-Aug


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   1 Zagury and Naidoo of his resignation for the first time in this letter, when in fact they
   2 had all been conspiring on this subject for weeks.          Zagury sent his notice of
   3 resignation from Swan approximately eight minutes after Defendant Holmes sent his
   4 message, and Defendant Naidoo sent a notice of resignation approximately one
   5 minute after that.
   6        155. Shortly thereafter, Defendant Holmes sent a message to Defendant
   7 Furlong, Defendant Monteleone, Defendant Romualdez, Defendant Vasconcelos,
   8 Belitsky, Berg, Dozic, Effertz, Hiley, and Sola stating that “Arrangements are under
   9 way” for a new entity (the already existing and long-discussed Defendant Proton) and
  10 “I don’t expect us to skip a beat.” The message further stated that Zagury and
  11 Defendant Naidoo would be joining Defendant Holmes at the new entity.
  12        156. With that assurance, the Swan conspirators sent quick-succession notices
  13 of resignation—something they surely had planned and discussed during their hours-
  14 long marathon video call earlier that morning:
  15               •      Enrique Romualdez: Aug. 8, 2024, 5:25 p.m. “Immediate
  16                      Resignation Notice: Enrique Romualdez”
  17               •      Aleksander Dozic: Aug. 8, 2024, 5:31 p.m. “Resignation Notice”
  18               •      Rafael Monteleone: Aug. 8, 2024, 5:43 p.m. “Resignation Notice”
  19               •      Katheek Sola: Aug. 8, 2024, 5:53 p.m. “Official resignation”
  20               •      Brett Hiley: Aug. 8, 2024, 6:26 p.m. “Letter of Resignation – Brett
  21                      Hiley”
  22               •      Lucas Vasconcelos: Aug. 8, 2024, 6:35 p.m. “Resignation Notice:
  23                      Lucas Vasconcelos”
  24               •      Max Berg: Aug. 8, 2024, 6:51 p.m. “MB Law LLC – Termination
  25                      of Representation”
  26               •      Tom Furlong: Aug. 8, 2024, 7:18 p.m. “Resignation notice”
  27               •      Tyler Effertz: Aug. 8, 2024, 8:25 p.m. “Notice of Resignation –
  28                      Tyler Effertz – 8/9/24”

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   1 To date, not a single Individual Defendant has returned his Swan laptop.
   2         167. On August 22, 2024, and again on August 27, 2024, Swan repeated its
   3 request that Defendants Holmes and Romualdez, along with Swan conspirators
   4 Zagury, Belitsky, Dozic, Effertz, Hiley, and Sola, return their Swan-issued laptops
   5 and equipment to Swan as required by their individual employment or consulting
   6 agreements. It made the same request of Defendants Furlong, Monteleone, Naidoo,
   7 and Vasconcelos. Again, none did so.
   8         168. At the same time, Swan continued to investigate the former-Swan
   9 personnel’s departures and conspiracy with the Defendants. As a GitHub member,
  10 Swan is able to view obscured versions of private activity on GitHub, including that
  11 of its former employees and contractors, including the former Swan conspirators.
  12 Defendant Monteleone (username: RDMEC), Defendant Vasconcelos (username:
  13 lucasvm8), and Zagury (username: pxsocs) were highly active on GitHub following
  14 their resignations from Swan, during the weeks of August and September 2024, as
  15 indicated by the concentration of bright green dots in each GitHub account’s “heat
  16 map”:
  17 Screenshot of Defendant Monteleone’s GitHub activity (as of September 2024)
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   1 Screenshot of Defendant Vasconcelos’s GitHub activity (as of September 2024)
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  16        169. Zagury’s contribution activity in particular indicates that he was more
  17 active on GitHub in August than the preceding months when he was a Swan
  18 employee:
  19 Screenshot of Zagury’s GitHub activity (as of September 2024)
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   1 (copied) will be familiar to you.” Tether’s counsel did not, of course, disclose the
   2 Defendants’ scheme to steal Swan’s Bitcoin business, personnel, and confidential and
   3 proprietary information and trade secrets for this “independent management
   4 company.”
   5 X.     Swan Brings This Suit, and the Defendants Provide False Excuses for
            Their Misconduct.
   6
   7        174. Swan filed its original Complaint against Defendants on September 25,
   8 2024. At the same time, Swan filed an application for a temporary restraining order
   9 against Defendants, seeking to enjoin Proton and the Individual Defendants from,
  10 among other things, disclosing or using any Swan proprietary and confidential
  11 material or trade secrets.
  12        175. In opposing Swan’s request for relief, the Individual Defendants did not
  13 deny that they were using Swan’s proprietary information and trade secrets. Instead,
  14 they repeatedly represented that, to the extent Proton and the Individual Defendants
  15 were using Swan’s proprietary information and trade secrets, Proton and the
  16 Individual Defendants were using that information “solely for the benefit of 2040
  17 Energy … and no others.” Dkt. 29-1 at 4. “[T]his case is particularly unique because
  18 of Swan’s continued interest in 2040 Energy… Proton and the Individual Defendants
  19 are working only for 2040 Energy. Therefore, to the extent the Individual Defendants
  20 are using purported trade secrets, it is for the sole benefit of 2040 Energy—and thus
  21 Swan too. Therefore, there is no actual, let alone irreparable, harm to Swan.” Id. at
  22 12.
  23        176. The Court denied Swan’s request for relief on October 4, 2024.
  24        177. Meanwhile, the parties met and conferred regarding a process through
  25 which the Individual Defendants would return their Swan laptops. The Individual
  26 Defendants represented to the Court that the parties “ha[d] agreed to share all the
  27 laptops,” which were in the possession a third-party vendor, and that the Individual
  28 Defendants “just wanted to have a process which we propose to ensure that [Swan]

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   1 integrating in Proton’s business Swan’s confidential and proprietary information,
   2 including its trade secrets like BNOC, and details about every minutiae for the
   3 operation and management of Swan’s mining sites, that Defendants and the Swan
   4 conspirators stole. Put simply, Defendant Proton is an unlawful enterprise with no
   5 legitimate grounds for existence, operating each day using Swan’s confidential and
   6 proprietary information and intellectual property—including insider knowledge of the
   7 same from Swan’s former personnel. Every day that goes by, for example, makes it
   8 more and more difficult for Swan to trace and recover its trade secrets, or to recover
   9 from the damage that has been done and continues to multiply from Swan being shut
  10 out of its own business while its most important assets are deployed for Defendants’
  11 benefit rather than Swan’s. Defendants’ theft of Swan’s confidential information and
  12 trade secrets and raid of Swan’s mining business has crippled Swan’s mining
  13 operations.    Even if Swan were able to replace the individual consultants and
  14 employees following their resignations, Proton’s continued use of Swan’s
  15 confidential information and trade secrets to manage Swan’s former mining sites and
  16 develop potential new mining sites essentially eliminates the competitive edge that
  17 Swan had established by developing the extensive confidential and proprietary
  18 material that Defendants stole.
  19         204. The danger to Swan is particularly acute if Defendants are using Swan’s
  20 confidential information and proprietary trade secrets to deploy and manage Bitcoin
  21 mining operations outside of 2040 Energy, as evidence uncovered since Swan filed
  22 its initial Complaint strongly suggests (and Defendants’ recent refusal to answer
  23 basic, direct questions about any such non-2040 Energy mining operations seems to
  24 confirm). Defendants’ continued use of Swan’s confidential information and trade
  25 secrets outside of 2040 Energy creates a serious, incalculable risk that Swan will lose
  26 complete control over who has access to its trade secrets, how those trade secrets are
  27 used, and the business opportunities that come with such use (to the extent Swan has
  28 not already lost such control as a result of Defendants’ actions).

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   1         205. The individual Defendants have also blatantly refused (four times) to
   2 return Swan’s physical and intellectual property containing this and other Swan
   3 information (including their Swan devices). Swan’s confidential and proprietary
   4 information and trade secrets are at serious risk of being further disclosed and used
   5 for purposes detrimental to Swan and for Defendants’ benefit, and Defendants are
   6 preventing Swan from even investigating the full extent of Defendants’ theft and
   7 misconduct.
   8         206. The ongoing and irreparable harm to Swan goes further. As outlined
   9 above, Swan invested significant time and effort developing its vendor relationships
  10 and reputation. Defendants have attempted to capitalize on Swan’s reputation by
  11 falsely implying to vendors and others that “Swan” is still responsible for the day-to-
  12 day operations of 2040 Energy. For example, Defendants have represented to third
  13 parties that 2040 Energy has “experienced a nominal change in management” and that
  14 “[s]ome of the team from Swan Bitcoin now provides day-to-day management
  15 services to 2040 through an independent management company.”
  16         207. Though Defendants have thrown up every roadblock they can, Swan has
  17 still made every effort and expended significant resources to investigate and try to
  18 identify even a sliver of Defendants’ egregious misconduct and prepare to redress
  19 their misdeeds. As appalling as the current record is, it is likely only the tip of the
  20 iceberg. Swan expects that discovery will demonstrate even more misconduct, and
  21 so Swan reserves all rights to amend its allegations, defendants, and claims as it learns
  22 more information. The harm to Swan’s business and long-term prospects are—and,
  23 if Defendants are not enjoined to cease their misconduct, will continue to be—
  24 irreparable.
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   1 a roadmap for how to immediately and effectively compete with Swan’s operation
   2 and reduce or eliminate Swan’s competitive edge.
   3         216. Defendants have improperly acquired, used and/or disclosed Swan’s
   4 trade secrets in violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836, et seq.
   5         217. If Defendants are not enjoined, they will continue to access, use,
   6 disclose, or otherwise misappropriate Swan’s trade secrets to benefit themselves to
   7 Swan’s detriment. As detailed in paragraphs 187-191, Defendants are using Swan’s
   8 trade secrets to manage Swan’s former mining sites, for the benefit of unidentified
   9 third parties (including, potentially, Tether or “Elektron Energy”). Additionally, as
  10 detailed in paragraph 168-170, for example, Defendant Monteleone (and Defendant
  11 Proton’s current CEO Raphael Zagury) has been highly active on GitHub following
  12 his resignation in August and September; on information and belief, that activity is
  13 due to his access to and use of Swan’s BNOC with and for Defendant Proton.
  14         218. Defendants’ misappropriation of Swan’s trade secrets has caused and
  15 continues to cause substantial injury to Swan’s business, including, but not limited to
  16 actual damages, lost profits, harm to its reputation, and the diminution of the value of
  17 its trade secrets. Defendants have been unjustly enriched by their misappropriation
  18 of Swan’s trade secret information.
  19         219. Swan seeks preliminary injunctive relief pursuant to 18 U.S.C.
  20 § 1836(b)(3)(A) against all Defendants to protect the secrecy of its trade secret
  21 documents and information and to remedy injury to Swan’s business interests and
  22 reputation. Swan will continue to suffer irreparable harm absent the requested
  23 injunctive relief.
  24         220. Swan also seeks a permanent injunction against Defendant Proton, as
  25 well as an award of actual damages in an amount to be proven at trial under 18 U.S.C.
  26 § 1836(b)(3)(B).
  27         221. Because Defendants’ misappropriation and use of Swan’s trade secrets
  28 was intentional, knowing, willful, and oppressive, Swan also seeks exemplary

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   1 damages from Defendant Proton up to two times the award of actual damages under
   2 18 U.S.C. § 1836(b)(3)(C) and attorneys’ fees under 18 U.S.C. § 1836(b)(3)(D).
   3                             SECOND CAUSE OF ACTION
   4                      Breach of Contract (Consulting Agreement)
   5   (Against Defendants Holmes, Ilios, Naidoo, Monteleone, Romualdez, Furlong, and
   6                                      Vasconcelos)
   7        222. Each of the foregoing paragraphs is incorporated into this Second Cause
   8 of Action, as if set forth herein.
   9        223. The consulting agreements Defendants Holmes (on behalf of Defendant
  10 Ilios), Naidoo, Monteleone, Romualdez, and Furlong signed are valid and binding
  11 contractual agreements.
  12        224. The consulting agreements were made for valid consideration, including
  13 the compensation each of these Defendants received from Swan.
  14        225. Swan fully performed its obligations under the consulting agreements
  15 (including by paying Defendants their agreed-upon compensation), or else Swan was
  16 excused from performance.
  17        226. As detailed in paragraph 100 and footnote 9 above, Defendants Holmes
  18 (on behalf of Defendant Ilios), Naidoo, Monteleone, Romualdez, and Furlong agreed
  19 to safeguard Swan “Confidential Information,” promising in their respective
  20 consulting agreements that they each would “hold in the strictest confidence, and take
  21 all reasonable precautions to prevent any unauthorized use or disclosure of
  22 Confidential Information.”
  23        227. These Defendants further agreed not to “(i) use the Confidential
  24 Information for any purpose whatsoever other than as necessary for the performance
  25 of the Services on behalf of the Company, or (ii) subject to Consultant’s right to
  26 engage in Protected Activity [], disclose the Confidential Information to any third
  27 party without the prior written consent of an authorized representative of the
  28 Company.”

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   1        228. Defendants Holmes (on behalf of Defendant Ilios), Naidoo, Monteleone,
   2 Romualdez, and Furlong further agreed that they would “not use or disclose any
   3 Company property, intellectual property rights, trade secrets or other proprietary
   4 know-how of the Company to invent, author, make, develop, design, or otherwise
   5 enable others to invent, author, make, develop, or design identical or substantially
   6 similar designs as those developed under this Agreement for any third party.”
   7        229. These Defendants agreed that their obligations to safeguard Swan’s
   8 confidential information “shall continue after the termination of [their]
   9 Agreement[s].”
  10        230. Defendants Holmes (on behalf of Defendant Ilios), Naidoo, Monteleone,
  11 Romualdez, and Furlong breached the foregoing provisions of their respective
  12 consulting agreements by stealing Swan’s confidential and proprietary information—
  13 including but not limited Swan’s mining performance data, data related to Swan’s
  14 mining inventory, mining operations and machine performance and configuration,
  15 financial modeling and information, weekly reports of all operations, and ongoing
  16 deals with Swan business partners—to use for Defendant Proton’s benefit.
  17        231. On information and belief, Defendants have disclosed and used and are
  18 continuing to disclose and use Swan’s confidential and proprietary information to
  19 operate Defendant Proton.
  20        232. Swan has suffered and will suffer irreparable harm as a direct and
  21 proximate result of the individual Defendants’ past and ongoing breaches of their
  22 respective consulting agreements—including the further loss of its confidential and
  23 proprietary information and trade secrets—for which there is no adequate remedy at
  24 law.
  25                             THIRD CAUSE OF ACTION
  26                  Tortious Interference with Contractual Relations
  27                  (Against Defendants Proton, Holmes, and Naidoo)
  28        233. Each of the foregoing paragraphs is incorporated into this Third Cause

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   1 of Action, as if set forth herein.
   2        234. As part of their employment and for valid consideration, including
   3 compensation from Swan, Zagury, Dozic, Effertz, Hiley, Sola, and Belitsky signed
   4 “Confidentiality and Proprietary Information and Inventions Agreements” with Swan
   5 (“Employee Confidentiality Agreements”).
   6        235. Swan fully performed its obligations under the Employee Confidentiality
   7 Agreements, or else its performance was excused.
   8        229. None of Zagury, Dozic, Effertz, Hiley, Sola, or Belitsky lived or worked
   9 in California. Their agreements were subject to the laws of Florida (Zagury, Effertz),
  10 Pennsylvania (Dozic), Washington (Hiley), Alabama (Sola), and Indiana (Belitsky).
  11        236. As part of those contracts, Zagury (now Defendant Proton’s CEO),
  12 Dozic, Effertz (now Defendant Proton’s Chief Financial Officer), Hiley, Sola, and
  13 Belitsky agreed that, “at any and all times during my service with the Company, I will
  14 not engage in any acts of competition against the interests of the Company and/or any
  15 of its affiliates, regardless of the capacity in which I am acting on behalf of any
  16 Competing Business, and instead shall devote my full-time and attention only to the
  17 interests of the Company and in furtherance of the Company business.” For the “term
  18 of my service only, prohibited acts of competition” included: “performing any
  19 services for a Competing Business18;” “hiring, recruiting or soliciting any employee
  20 of the company;” and “disclosing, misappropriating, or using any property of the
  21 Company or any affiliate, including, without limitation, any form of Confidential
  22 Information, Proprietary Information or Trade Secret, other than in furtherance of the
  23 Company Business.”
  24        237. Zagury, Dozic, Effertz, Hiley, Sola, and Belitsky also agreed that, “for a
  25
     18
        “Competing Business” is defined in the Employee Confidentiality Agreements as
  26 “any person or entity that engages in a commercial business that is the same or
     substantially similar to the Company Business, and only that portion of the business
  27 that is in competition with the Company Business.” “Company Business” is defined,
     in part, as any “business in which the Company engages during my Services with the
  28 Company”— in this case, Bitcoin mining.

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   1 period of twelve months following termination of my Service, I will not, either
   2 directly or indirectly, solicit, entice, encourage, cause, or recruit any person employed
   3 by the Company or any affiliate to leave such person’s employment with the Company
   4 or any affiliate to join a Competing Business.”
   5         238. Zagury, Dozic, Effertz, Hiley, Sola, and Belitsky also agreed that they
   6 would “not at any time, other than in the performance of [their] Service for the
   7 Company or any affiliate, both during and after [their] Service with the Company,
   8 communicate or disclose to any person or entity, or use for my benefit, or for the
   9 benefit of any other person or entity, either directly or indirectly, any Trade Secrets
  10 and/or Proprietary Information.”19
  11         239. Swan had a contractual expectancy that Zagury, Dozic, Effertz, Hiley,
  12 and Belitsky20 would abide by the Employee Confidentiality Agreements.
  13         240. Zagury, Dozic, Effertz, Hiley, Sola, and Belitsky breached the foregoing
  14 provisions of the Employee Confidentiality Agreements by planning, coordinating,
  15 and conspiring with and through Defendant Proton and others, including but not
  16 limited to Defendants Holmes and Naidoo, to compete with Swan during their
  17 employment by working on behalf of Proton’s competing mining business and
  18 soliciting Swan’s employees to leave their employment and of Swan’s independent
  19 contractors to terminate their services as independent contractors during the time
  20 period prohibited by the Employee Confidentiality Agreements to work for Proton.
  21
  22
       19
           “Proprietary Information” is defined in the Employee Confidentiality Agreements
       to include “all technical and non-technical data, compilations, programs and methods,
  23   techniques, drawings, processes, financial data, actual and prospective customer lists,
       customer route books and materials, documents containing names and addresses of
  24   current or former customers that includes their past or present buying patterns or
       habits, sales reports, service reports, price lists and discount lists, methods and/or
  25   procedures regarding pricing, product cost and profit strategies or structures, product
       formulae, methods and/or procedures related to sales or services, methods and/or
  26   procedures of operation, special training of sales representatives, continuous market
       updates and merchandising strategies relating to the Company, any affiliate of the
  27   Company, and the Company Business.”
       20
           Swan reserves its rights based on Defendants Holmes/Ilios, Naidoo, Monteleone,
  28   Romualdez, and Furlong’s breaches of their non-solicitation obligations.
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   1        241. Several of the Swan employees and contractors that Zagury, Dozic,
   2 Effertz, Hiley, Sola, and Belitsky—with Defendants’ help—unlawfully solicited then
   3 resigned from Swan and started working for Proton thereafter. On information and
   4 belief, that solicitation may be ongoing as to at least certain individuals whom Zagury,
   5 Dozic, Effertz, Hiley, Sola, and Belitsky solicited from Swan and who have already
   6 resigned from Swan, but who have not yet surfaced publicly as working with or for
   7 Defendant Proton. Defendants Proton, Holmes, and Naidoo had knowledge of
   8 Swan’s contractual relationship with Zagury, Dozic, Effertz, Hiley, Sola, and Belitsky
   9 at all material times, including knowledge that those agreements contained
  10 confidentiality, non-competition, and non-solicitation provisions. For example, in
  11 calls leading up to the Individual Defendants’ resignations from Swan, Defendants
  12 Holmes and Naidoo met, along with Belitsky, and discussed “non-solicit; non-
  13 compete” and “Confidentiality and IP” concerns, noting that they “would be
  14 exposed,” and likely did not have any “leverage” to secure releases upon departure.
  15        242. Defendants Proton, Holmes, and Naidoo intentionally interfered with the
  16 Employee Confidentiality Agreements by planning, coordinating, and conspiring with
  17 Zagury, Dozic, Effertz, Hiley, Sola, and Belitsky to compete with Swan and solicit
  18 Swan’s employees and contractors to work for Proton.
  19        243. Based on these Defendants’ interference with the Employee
  20 Confidentiality Agreements, Swan has had its contractual relationship and
  21 expectancies with Zagury, Dozic, Effertz, Hiley, Sola, and Belitsky diverted,
  22 disrupted, damaged, and threatened by the actions of Defendants Proton, Holmes, and
  23 Naidoo as described herein.
  24        244. Swan has suffered and will suffer damages as a direct and proximate
  25 result of the Defendants Proton’s interference.
  26        245. Swan has suffered and will suffer irreparable harm as a direct and
  27 proximate result of the Defendants Proton, Holmes, and Naidoo’s interference for
  28 which there is no adequate remedy at law.

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   1                            FOURTH CAUSE OF ACTION
   2                    Aiding and Abetting Breach of Duty of Loyalty
   3                               (Against Defendant Proton)
   4         246. Each of the foregoing paragraphs is incorporated into this Fourth Cause
   5 of Action, as if set forth herein.
   6         247. Swan’s employees and executives, including but not limited to Zagury,
   7 Dozic, Effertz, Hiley, Sola, and Belitsky, owed a duty of loyalty to Swan during their
   8 employment. At least Zagury, as Swan’s Chief Investment Officer, and Belitsky, as
   9 Swan’s General Counsel, owed Swan fiduciary duties.
  10         248. Defendant Proton was aware of these duties.
  11         249. Defendant Proton knowingly and intentionally interfered with and
  12 induced Swan’s employees, including but not limited to Zagury, Belitsky, Dozic,
  13 Effertz, Sola, and Hiley, to breach their duties of loyalty by planning, coordinating,
  14 and conspiring with and through others, including but not limited to Defendants
  15 Holmes and Naidoo, to, while employed by Swan, assist Defendant Proton in
  16 preparing to compete with Swan’s mining business and to solicit (a) Swan’s
  17 employees to leave their employment and (b) Swan’s independent contractors to
  18 terminate their services as independent contractors.
  19         250. Defendant Proton’s aiding and abetting of the Swan employees’
  20 disloyalty has caused and continues to cause substantial harm to Swan’s business.
  21                              FIFTH CAUSE OF ACTION
  22          Unfair Competition Under Business & Professions Code § 17200
  23                                   (Against All Defendants)
  24         251. Each of the foregoing paragraphs is incorporated into this Fifth Cause of
  25 Action, as if set forth herein.
  26         252. California Business & Professions Code § 17200 prohibits any
  27 “unlawful, unfair or fraudulent business act or practice.”
  28         253. Defendants’ business acts and practices as alleged herein constitute

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   1 ongoing unlawful and unfair activity in violation of California’s Unfair Competition
   2 Law (“UCL”), as codified in California Business and Professions Code § 17200 et
   3 seq.
   4        254. Specifically, Defendants acted and are acting unlawfully and unfairly
   5 under California’s UCL by orchestrating and carrying out a course of conduct to
   6 disrupt, divert, and steal Swan’s entire Bitcoin mining business by, for example and
   7 without limitation:
   8              •        Misappropriating, and/or planning, coordinating, and conspiring
   9                       with the other Defendants and other Swan employees and
  10                       consultants to misappropriate, documents and files containing
  11                       Swan’s proprietary and confidential information;
  12              •        Planning and executing a scheme to lift out the entirety of Swan’s
  13                       Bitcoin mining personnel to accept roles at Defendant Proton, a
  14                       counterfeit competitor created for the sole purpose of using
  15                       Swan’s stolen technology, resources, and trade secret techniques
  16                       and methods to usurp its mining business and irreparably harm
  17                       Swan’s ability to compete in the Bitcoin mining market, and doing
  18                       so in a manner calculated to inflict maximum damage to Swan
  19                       with a funding partner;
  20              •        Using the proprietary data, information, and resources Defendants
  21                       stole to operate Defendant Proton’s copycat Bitcoin mining
  22                       business and continuing to work with Swan’s vendors while
  23                       trading on Swan’s name; and
  24              •        Other conduct which is presently unknown but will be proven at
  25                       trial.
  26        255. Defendants’ unlawful and unfair actions allowed Defendant Proton to
  27 effectively steal Swan’s Bitcoin mining business and set up an illegal copycat,
  28 bypassing all the investment of time and resources that Swan undertook to grow its

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   1 full Bitcoin mining business.        This is the epitome of unfair competition, as it
   2 disincentivizes the very sort of investment that Swan undertook in the first place.
   3         256. Swan has suffered and will suffer harm—including irreparable harm for
   4 which there is no adequate remedy at law—as a direct and proximate result of
   5 Defendants’ unlawful and unfair business practices. Swan is entitled to recover
   6 restitution from Defendant Proton, including without limitation, all benefits that
   7 Defendant Proton received because of its unlawful and unfair business acts and
   8 practices. Swan is further entitled to an injunction restraining further acts of unfair
   9 competition.
  10                              SIXTH CAUSE OF ACTION
  11                                        Conversion
  12                       (Against Defendants Furlong, Holmes, Ilios,
  13                    Naidoo, Monteleone, Romualdez, and Vasconcelos)
  14         257. Each of the foregoing paragraphs is incorporated into this Sixth Cause
  15 of Action, as if set forth herein.
  16         258. Defendants Furlong, Holmes, Ilios, Naidoo, Monteleone, Romualdez,
  17 and Vasconcelos have no right of possession of Swan-issued laptops and equipment
  18 following the termination of their consulting agreements.
  19         259. Defendants Furlong, Holmes, Ilios, Naidoo, Monteleone, Romualdez,
  20 and Vasconcelos intentionally and wrongfully exercised control or dominion over
  21 Swan’s property, and conducted a scheme of wrongful acts with the intention to
  22 appropriate the property and deprive Swan of its property.
  23         260. Swan retained at the time of the conversion, and still retains, ownership
  24 in the property.
  25         261. Swan has suffered and will suffer irreparable harm for which there is no
  26 adequate remedy at law as a direct and proximate result of Defendants Furlong,
  27 Holmes, Ilios, Naidoo, Monteleone, Romualdez, and Vasconcelos’s conversion of
  28 Swan’s property.

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   1                            SEVENTH CAUSE OF ACTION
   2                                      Civil Conspiracy
   3                                 (Against All Defendants)
   4         262. Each of the foregoing paragraphs is incorporated into this Seventh Cause
   5 of Action, as if set forth herein.
   6         263. Defendants (between them and with others) formed and operated a
   7 malicious combination with a common design to injure Swan by (a) performing
   8 unlawful acts in stealing and misappropriating Swan’s confidential and proprietary
   9 information and trade secrets as described above for the unlawful purpose of diverting
  10 business and economic gain from Swan, and/or (b) performing the lawful acts of
  11 competing with Swan and hiring certain of Swan personnel, but doing so through the
  12 unlawful means of violating Swan’s contractual, statutory, and common-law rights as
  13 described above.
  14         264. The foregoing conduct of the Defendants was malicious, was performed
  15 with intent to injure Swan, and was without justification or privilege. Defendants’
  16 conduct was undertaken in furtherance of their own personal interests and benefit.
  17         265. One, some, or all the Defendants engaged in overt unlawful acts and
  18 conduct violative of Swan’s contractual, common law and statutory rights as
  19 described above, and did so with the knowledge, aid, agreement, and support of the
  20 other Defendants, causing actual harm to Swan.
  21         266. By virtue of the formation and operation of this conspiracy by
  22 Defendants, and because of the above-described wrongful acts and conduct and the
  23 harm and injury caused to Swan thereby, each Defendant as a participant in this
  24 conspiracy is liable as a joint tortfeasor for each and every one of the above-described
  25 acts committed by each Defendant/coconspirator.
  26         267. Swan has suffered and will suffer damages and irreparable harm as a
  27 direct and proximate result of the Defendants’ conspiracy for which there is no
  28 adequate remedy at law.

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   1                               PRAYER FOR RELIEF
   2       WHEREFORE, Plaintiff prays for judgment in its favor and against
   3 Defendants, as follows:
   4       A.    For a temporary injunction requiring Defendants to immediately take
   5             steps to preserve all evidence relevant to the Complaint;
   6       B.    For a temporary injunction against Defendants, and as well as a
   7             permanent injunction against Defendant Proton, including enjoining
   8             Defendants, and their agents, servants, employees, successors, and
   9             assigns, and all other people acting in concert or conspiracy with any of
  10             them or who are affiliated with them, from disclosing, using, accessing,
  11             distributing, modifying, moving, altering, deleting, or otherwise
  12             disposing of any files, documents, and digital media that contain any
  13             Swan proprietary and confidential material or trade secrets, and/or that
  14             are derived from such information;
  15       C.    For an injunction requiring Defendants to immediately turn over to
  16             counsel for Swan all laptops and any other Swan-issued devices or hard
  17             drives in their possession;
  18       D.    For a temporary injunction enjoining Defendants Proton, Holmes, and
  19             Naidoo, and a permanent injunction enjoining Defendant Proton, from
  20             soliciting Swan’s employees to leave their employment for the duration
  21             of time prohibited by the Employee Confidentiality Agreements
  22             (including as extended to account for the fact that Defendants have been
  23             in breach of, or interfering with, those provisions);
  24       E.    For a temporary injunction enjoining Defendants, and a permanent
  25             injunction enjoining Defendant Proton, from carrying out a course of
  26             conduct to disrupt, divert, and steal Swan’s entire Bitcoin mining
  27             business;
  28       F.    For other temporary and permanent injunctive relief as further discovery

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   1             may show necessary, or that this Court deems proper;
   2       G.    For damages and other relief against Defendant Proton as described in
   3             each of the above causes of action, including:
   4             i.     For restitution and/or disgorgement against Defendant Proton;
   5             ii.    For punitive damages against Defendant Proton in an amount to
   6                    be determined at trial;
   7             iii.   For       actual    damages    against   Defendant     Proton    for
   8                    misappropriation of trade secrets and for the other unlawful and
   9                    tortious conduct described herein, including in the form of lost
  10                    profits resulting from the loss of the Swan’s personnel, customers,
  11                    and the loss of Swan’s economic or prospective economic
  12                    relationships, in an amount to be proven at trial;
  13             iv.    For costs, attorney’s fees, and other expenses incurred in this
  14                    action;
  15             v.     For pre-judgment and post-judgment interest at the maximum
  16                    legal rate, as applicable, as an element of damages that Swan has
  17                    suffered as a result of Defendant Proton’s wrongful acts; and
  18             vi.    For such other relief as the Court may deem just and proper.
  19                                       JURY DEMAND
  20       Swan respectfully requests a jury trial on all claims for relief.
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   1 DATED: January 27, 2025      Respectfully submitted,
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